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                            UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

 COLLEGENET, INC.,                                                     Civil No. 05-cv-1255-HR

                                                                      CONSENT JUDGMENT
                       Plaintiff,

        v.

 APPUCATIONSONLINE, LLC,
 THE COMMON APPUCATION, INC. and
 JOSHUA REITER

                       Defendants.




                                                                     CONSENT JUDGMENT
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       Based on the Joint Motion in Support of Entry of Consent Judgment advising the Court

that the parties have reached a Settlement Agreement, which calls for entry of this Consent

Judgment;

       IT IS HEREBY ORDERED that FINAL JUDGMENT is entered as follows:

       1.      The claims of U.S. Pat. No. 6,460,042 Bl ('''042 patent"), Reexamination

Certificate U.S. Pat. No. 6,460,042 Cl ("'042 Reexam Certificate"), and 7,376,891 B2 ('''891

patent") owned by CollegeNET, Inc. are not invalid and not unenforceable.

       2.      All remaining claims and counterclaims asserted herein are dismissed with

prejudice, with each party bearing its own costs and attorneys' fees.

       3.      The parties waive appeal from this Consent Judgment, as well as any and all other

challenges to it in any way.




                                                 [\                           J
                                              ANN~
                                              UNITED STATES DISTRICT JUDGE




                                                                        CONSENT JUDGMENT
                                                                                    Page 1
